
ORDER
|,The Office of Disciplinary Counsel (“ODC”) is conducting an investigation into allegations that respondent was paid fixed fees and advanced costs in connection with his representation of clients but then failed to communicate with them and failed to complete the necessary work to bring their legal matters to a conclusion. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The Office of Disciplinary Counsel (“ODC”) has concurred in respondent’s petition.
Having considered the Petition for Permanent Resignation from the Practice of Law filed by Glyn J. Godwin, Louisiana Bar Roll number 6076, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Glyn J. Godwin for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5 of the Rules of Professional Conduct.
IT IS FURTHER ORDERED that Glyn J. Godwin shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
FOR THE COURT:
/s/ Marcus Clark
/s/ Justice, Supreme Court of Louisiana
